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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is WITHDRAWN.



  Dated: August 10, 2023
                                                                  ________________________________________
                                                                             SHAD M. ROBINSON
                                                                     UNITED STATES BANKRUPTCY JUDGE
  ______________________________________________________________


                           IN THE UNITED STATES BANKRUPTCY COURT




                                                                                  N
                              FOR THE WESTERN DISTRICT OF TEXAS
                                       AUSTIN DIVISION




                                                                     W
      In re:                                              §
                                                          §         Case No. 23-10164-smr
      ASTRALABS, INC.,                                    §
                                                          §         Chapter 7
                                                 RA
               Debtor.                                    §

                       ORDER APPROVING TRUSTEE’S APPLICATION
                    TO EMPLOY GAMMA CONSULTING, LLC TO PROVIDE
                TRANSITION CONSULTING SERVICES TO AND FOR THE ESTATE
                                       D

               CAME ON FOR CONSIDERATION the Trustee’s Application to Employ Gamma

  Consulting, LLC to Provide Transition Consulting Services to and for the Estate
                             H


  (the “Application”) filed by Randolph N. Osherow, not individually but in his capacity as the duly

  appointed chapter 7 trustee (in such capacity, the “Trustee”), for and on behalf of ASTRALABS,
                 IT




  Inc. (the “Debtor”). 1 After having considered the Application, the Declaration of Kerstin Hadzik

  in support of the Application, and the record before it, and including for the reasons stated in the
  W




  Application and by the Court on the record, the Court finds and determines that: (i) notice and




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        Capitalized terms used herein, not otherwise defined, shall be given the meaning ascribed in the Application.

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  service of the Application was adequate and sufficient under the particular circumstances; (ii) the

  proposed employment of Gamma Consulting, LLC (“Gamma”) to provide transition consulting

  services to the Trustee and through his bankruptcy counsel, is appropriate and in the best interests

  of the Debtor’s Estate; (iii) Gamma and its principals and professionals do not represent or hold

  any interest adverse to the Debtor’s Estate such that Gamma would be disqualified from

  representing the Trustee in this bankruptcy case, and (iv) Gamma and each of its principals and

  professionals is a “disinterested person” as such term is defined under 11 U.S.C. § 101(14).

  Accordingly, the Court finds and concludes that the Application should be approved. Therefore,

  pursuant to 11 U.S.C. § 327(a), it is hereby




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         ORDERED that the Application is APPROVED. It is further




                                                           W
         ORDERED that the Trustee is authorized to retain and employ Gamma, as of May 13,

  2023, to perform the services more particularly set forth in the Application and pursuant to the
                                          RA
  Engagement Agreement attached to the Declaration. It is further

         ORDERED that Gamma shall be compensated by the Estate for services rendered and for

  expenses incurred, subject to the Court’s interim and final approval and in accordance with the
                                 D

  provisions of sections 330 and 331 of the Bankruptcy Code, the applicable Federal Rules of

  Bankruptcy Procedure, the Local Bankruptcy Rules, the U.S. Trustee Guidelines, and such other
                        H


  procedures as may be fixed by order of this Court, provided however that, in submitting its
             IT



  contemporaneous time entries in support of any interim and/or final application, Gamma’s

  timekeepers need only provide the extent of detail comprised of project billing / service area
  W




  descriptions calculated to the nearest 1/10 of an hour. It is further

         ORDERED that this Court shall retain jurisdiction over any and all issues arising from or

  relating to the implementation and interpretation of this Order.

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  Order respectfully submitted by:

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